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2
                                                                               FILED IN THE
                                                                           U.S. DISTRICT COURT
                                                                     EASTERN DISTRICT OF WASHINGTON



3                                                                     Feb 08, 2023
                                                                          SEAN F. MCAVOY, CLERK

4

5                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WASHINGTON
6

7     UNITED STATES OF AMERICA,
                                                     NO: 2:22-CR-36-RMP-1
8                                Plaintiff,
            v.                                      PRETRIAL ORDER AND ORDER
9                                                   GRANTING MOTION TO
      JESSE ANTONIO SOTO,                           CONTINUE
10
                                 Defendant.
11

12         BEFORE THE COURT is Defendant’s Motion to Continue Trial, ECF No.

13   42, and Motion to Expedite hearing of the same, ECF No. 43. Defendant moves for

14   a continuance of his trial to allow additional time to litigate his Motion to Suppress

15   and otherwise prepare for trial. See ECF No. 42 at 2. The Government does not

16   object to a continuance in this matter. Id. at 1.

17         A trial date of March 13, 2023, would deprive defense counsel of adequate

18   time to obtain and review discovery and provide effective preparation, taking into

19   account the exercise of due diligence. 18 U.S.C. § 3161(h)(7). Therefore, the Court

20   finds that the ends of justice served by ordering a continuance of proceedings in this

21



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1    matter outweigh the best interests of the public and Defendant’s right to a speedy

2    trial, pursuant to 18 U.S.C. §3161(h)(7)(A).

3          Accordingly, IT IS HEREBY ORDERED:

4          1.   Defendant’s Motion to Continue Trial, ECF No. 42, is GRANTED.

5          2.   Defendant’s Motion to Expedite, ECF No. 43, is GRANTED.

6          3.   The current trial date of March 13, 2023, is STRICKEN and RESET to

7    June 5, 2023, at 8:45 a.m. commencing with a final pretrial conference at 8:30 a.m.

8    All hearings shall take place in Spokane, Washington.

9          4.   The current pretrial conference date of February 14, 2023, is

10   STRICKEN and RESET on May 9, 2023, at 2:00 p.m.

11         5.   Supplemental expert witness disclosure are due by April 18, 2023.

12         6.   Discovery motions and any additional motions to suppress shall be filed

13   by March 21, 2023; responses are due April 18, 2023; and replies are due May 2,

14   2023. Counsel shall note their motions for hearing at the pretrial conference on

15   May 9, 2023. LCrR 12(c)(2).

16         7.   A second pretrial conference is SET on May 23, 2023, at 9:30 a.m.

17         8.   Motions in limine shall be filed by May 2, 2023; responses are due May

18   9, 2023; and replies are due May 16, 2023. Counsel shall note their Motions in

19   Limine for hearing at the pretrial conference on May 23, 2023.

20         9.   Counsel for defense shall notify Defendant of all hearings and ensure

21   Defendant’s attendance at court.



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1            10. Motions to Expedite, if any, shall be filed separately and noted for

2    hearing two (2) days from the date of filing, after informing opposing counsel of

3    such.

4            11. Trial briefs, requested voir dire, witness lists, jointly proposed jury

5    instructions, and a table of proposed jury instructions shall be filed and served by

6    May 26, 2023, for the Court’s consideration.

7            (a) The jointly proposed jury instructions should address only issues that are

8            unique to this case and shall include instructions regarding the elements of

9            each count, any necessary definitions, and a proposed verdict form.

10           (b) The parties shall provide the Court electronically with a table of

11           proposed, cited jury instructions. This table shall include:

12              (i)     The instructions on which the parties agree;

13              (ii)    The instructions that are disputed; and

14              (iii)   The basis of any objection.

15              (iv)    The jury instruction table shall be substantially in the following

16                      form:

17     Proposed by         Instruction #    9th Cir. Cite      Objection        Response to
                                                                                 objection
18
             (c) In addition to the jury instruction table, each party shall address any
19
             objections they have to instructions proposed by any other party in a
20
             memorandum filed by May 26, 2023. The parties shall identify the specific
21



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1          portion of any proposed instruction to which they object supported by legal

2          authority that supports the objection. Failure to file an objection to any

3          instruction may be construed as consent to the adoption of an instruction

4          proposed by another party.

5          12. Pretrial Exhibit Stipulation

6          (a) The parties shall prepare and file, by May 26, 2023, a pretrial exhibit

7          stipulation that contains each party’s numbered list of all trial exhibits with the

8          opposing party’s objections to each exhibit, including the basis of the

9          objection and the offering party’s brief response. All exhibits to which there

10         are no objections shall be deemed admitted, subject to any objections at trial

11         that could not be raised in advance. Failure to comply with this paragraph

12         could be deemed to constitute a waiver of all objections. Do not submit

13         blanket or boilerplate objections to the opposing party’s exhibits. These will

14         be disregarded and overruled.

15         (b) The pretrial exhibit stipulation shall be substantially in the following

16         form:
                                 Pretrial Exhibit Stipulation
17
     Plaintiff’s/Defendant’s Exhibits
18
       Exhibit No.        Description       If Objection, State     Response to Objection
19                                               Grounds

20

21



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1         (c) Exhibits shall be pre-marked with the exhibit numbers that will be used

2         at trial. Plaintiff’s trial exhibits are to be numbered 1 through 199, and

3         Defendant’s exhibits are to be numbered 200 and following.

4         (d) Objections to exhibits and witnesses shall be heard at the final pretrial

5         conference.

6         13.   Trial Procedures

7         The following procedures shall be utilized at trial:

8         (a) The Court utilizes JERS (Jury Evidence Recording System) to allow

9         evidence admitted for a trial to be viewed electronically via touchscreen

10        monitor in the jury deliberation room upon the conclusion of the trial. Please

11        note that the jury will receive a verbatim copy of the JERS exhibit list. Please

12        carefully review and follow the instructions provided.

13        JERS Instruction Sheet for Attorneys

14        (b) The Court will conduct the majority of jury voir dire but allow counsel

15        fifteen minutes to ask additional questions or to do more in depth exploration

16        of issues raised by the Court;

17        (c) A total of thirteen jurors will be selected. Plaintiff shall have six

18        peremptory challenges, Defendant shall have ten peremptory challenges, and

19        each party shall have one challenge for the alternate juror. Fed. R. Crim. P.

20        24. The challenges shall be exercised alternately;

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1         (d) Regular trial hours shall be from 8:45 a.m. to 12:00 noon, and 1:15 to

2         4:30 p.m.;

3         (e) The jurors will be provided with notebooks for notetaking and a copy of

4         preliminary instructions;

5         (f)   Documents published to the jury by counsel shall be collected at the

6         conclusion of trial each day or following a witness’s testimony regarding the

7         published document;

8         (g) A single photograph shall be taken of all witnesses following their

9         testimony for use by the jury to correlate a witness with the testimony he or

10        she provided. The photographs shall be maintained in a three-ring binder by

11        the Court. The photograph will have the witness’s name on it and the date of

12        the witness’s testimony. The photographs will be provided to the jury to assist

13        them during deliberations. Following deliberations, the photographs will be

14        destroyed by the Court and will not be a part of the record;

15        (h) Examination of witnesses shall be limited to direct, cross, redirect and

16        recross. Fed. R. Evid. 611(a);

17        (i)   Counsel are encouraged to limit requests for sidebars by anticipating

18        legal and evidentiary issues so that the issues may be addressed before trial

19        begins each day, during the lunch hour, or after trial hours;

20

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1          (j)   During trial, counsel are encouraged to exchange lists of the next day’s

2          witnesses and exhibits so that objections or legal issues may be anticipated

3          and resolved outside the normal trial hours;

4          (k) Counsel shall have the next witness to be called to testify available

5          outside the courtroom, to avoid delay; and

6          (l)   An attorney’s room for Plaintiff and for Defendant is available. Counsel

7          may inquire with the on-duty Court Security Officer for access to the room.

8          14. A Waiver of Speedy Trial Rights was signed by Defendant. ECF No. 44.

9    All time from the trial date of March 13, 2023, to the new trial date of June 5, 2023,

10   is EXCLUDED for speedy trial calculations pursuant to 18 U.S.C. § 3161(h)(7).

11         15. All time from the filing of Defendant’s Motion to Continue on February

12   6, 2023, to the date of the hearing on February 8, 2023, is excluded for speedy trial

13   calculations pursuant to 18 U.S.C. § 3161(h)(1)(D).

14         IT IS SO ORDERED. The District Court Clerk is directed to file this Order

15   and provide copies to counsel.

16         DATED February 8, 2023.

17                                                s/ Rosanna Malouf Peterson
                                               ROSANNA MALOUF PETERSON
18                                             Senior United States District Judge

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